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aDx9^rxb9dn>oW9exbdabAfjrxboeio9^jxjaxjLOix:KgAA]A^jxiL9WWx=Ax?AjAe]N`A?x9ixPDxADA^?9^jx

L9?xiofqTA?x9_?xjL9jx?AjAe]N^9jMa^xiL9YZx=Ax=N`?Q`Ixoba^xADA^?9^jixLANfixio>>Aiiaeix

9^?x9iiQJ^AAixo`jSxkLAx9JeAA?xHeEANjpeAxN^>Wp?N^Jx9^rx9IeAA?x]a^ArxVo?J]A^jxNix>a[YA>kA?x

N`xFo\W x

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,^OjA?x)j9kAixjjahAr
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+AfAi:x) x :b9k9x <:?:eAix                   NAJax x[>:Y9 #9=ar xicx 
iiOij9_jx-)xjjahBrx                      ao^iAWxHexADA^?9^jx
AbojrxLMAvx9^Jx)A>jOa^                    9jA?x&>ja=Aex xx
:jA?x     wt!xuxU@x


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( .9^>Ax:ja^                                ;]]rx)9^jN9Ja (a?eNIoAsx
)bA>N:WxiiNix:^jx )xmjaf^Ar              AGC^?9^jx
9jA?x                                9kA?x 0RxXx1l2x




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         d:)\.d,OLVZEX.-d]=X:d,OZLV.Fd)L-d5GG_dZL-.SVX)L-d)GHdO1 K_dS<8:XWd)VdXOdX:.d,:)S8.Vd

P.L-?L8d)8)?LVXdK. dZSX:.Sd :)\.d,OLVZFX.-d]=X:dK_d)XXORL._d)L-d5GH_dZL-.SVX)L-dK_d

S=8:XVd)VdXOdX:.dPSO\=V=OLVdO1dX:.dZ=-.H@L.VdX:)XdK)_d)PPF_d=LdK_d,)V. d :)\.dR.)-dX:=Vd

"F.)d8S..K.LXd)L-d,)R.7`dS.\=.].-d.\.R_dP)SXdO1d=Xd]=X:dK_d)XXOU._ d !_d,OZLV.Fd:)Vd

XR)LVF)X.-dY.d"F.)d9..K.LXdXOdK.dAdX:.d$P)M>V:dG)L8Z)8.d)L-d:)\.dLOd-OZ+XVd)VdXOdX;.d

,OLX.LXVdO2dX;.d)8R..K.LX d 5FF`dZL-.SVX)L-dX:=Vd)8S..K.LXd)L-d\OFZLX)S=F_d)8S..dXOd=X d

)X.d   
                
                                                *KK_d$cLX?)8O#O-S<8Z.bd
                                                .2.L-)LXd

          )Kd X:.d )XXOU/_d 3Sd .2.L-)LXd  :)\.d 6H_d .^PE)?N.-d .1.L-)LXVd S<8:XVd XOd

.1.L-)LXd]=X:d S.VP.,Xd XOdX;.d P.L->L8d ,:)S8.Vd [TX:.Sd  :)\.d S.\?.].-d X;.d)PPF=,)+G.d

PSO\=V=OLVdO1dX:.d[=-.FA.Vd)L-d:)\.d5IJ_d.^PE)>L0-dXOd.1.L-)LXdX:.dPSO\=V=OLVdO2dX:OV.d

Z=-.EB.VdX:)XdK)_d)PPF_d<MdY<Vd,)V.d :)\.d,)S.5FH_dS.\=.].-d.\.SadP)SXdO1dX;=Vd"F.)d

8R..K.LXd]=X:d.2.L-)LX d :)\.dXS)LVG)X.-dX:.d"E.)d8R..K.LXd)L-d.^PF)=M.-d=Xd>LdX;.d

$P)L<V:dG)L8Z)8.dXOdX;.d.2.L-)LXd]:Od:)Vd.^PR.VV.-d:)\=L8dLOd-OZ+XVd)VdXOdX:.d,OLX.LXVd

O2d X:.d )8T..K.LXd %Od K_d DO]H.-8.d .2.L-)LXd =Vd .LX.RA8d <LXOd X;>Vd "E.)d 8S..K.LXd

\OEZLX)S?H_d=NX.GH@8.LXE_d)M-d]=X:d5HFdCLO]G.-8.dO2d)GGd,OLV.Q[.L,.VdO1d.1.L-)LXVdPE.)d

O1d8Z?FX_d

         )X.d&/,X ddd(d
                                                  =.8OddH,)F)
                                                  =.8O  H,)F) )+O_d
                                                                   )+O_
                                                  O[LV.Ed4Sd.1.L-)MXd

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               3UFv?gFBvIUGBvrx\{;B;vDYX?FBvrzvlkFD?;rBF;UF+vH/

        (<rD;z;0?nXB)vXrR0zvdFB!UF*vR;zFDF0vzRH0?kXB)vXrR0zveFB;rD

        vUFz;zF;XtUFvUFx;zvI0Fzv1XBv;kkOzXRr_K[B;rNr;rBX;kR;Yu;rDxzvK[

        &FIFrD>r                              ;BFD ; ; kF;DFz ; UF ,vH /

        (<rD;z;0?kXB)vXrS0{vfFBOzUFDzS;MBjXrSvzR;rX;Xvr "$BU UFvkD

        p;r;RFD{RxvXr; UXBUpFp?FzvIUFvzS;rX;ZvrvlDFFy;rXZFvIUFzvXr 

        BvB;XrFBz;BjBvB;YrF;rDp;zXg;r;

               6WkF pkXxmF j^oT;p vI UFzvXr  BvB;qF  BvB>XrF ?;F ;rD p;|Xh;r; FzF

        DXXAFDD|XrRUFBvrxb;B KwzUFvkFx|xvFvIXxmF;;RzFFpFr UFDFIFrD;r

        ;BjrvmFDRFU;Dz]tRUFx>svIUFBvrx\|;BUFxvFFDXUaFrvDXX?F

        ;kF;R|;p?-FU;rj`vT>pvJBvB;XrF
    
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             4UF &FIFrD;r PzUFz BvrBFDF:U; UzvRUv UF Bvrx}{;B UF ;rD vUFz

        pFp?Fz vI UF D~R {;MBj^rR vzS;rX;Xvr C;XFD Rr Xr QzVFz;rBF vI UFc DzR

        z;L[Bj^rR

               &XBvF|>XpFkp;DF;;\k;?nFv&FIFrD;rOzzFXF



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        1 5;rBF';vr
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                                                       &XFRv ) #mB;k;.;?v 'y
                                                       &XFRv)#mB;k;.;?v'y
                                                       %vrFmOz&FIFrD;r
        &;FD     i                          &;FD
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